        Case 1:24-cr-00542-AS           Document 189 Filed 03/21/25 Page 1 of 2
                                                   U.S. Department of Justice
                                                                                                Page 3
                                                       United States Attorney
My und                                                 Southern District of New York
                                                       26 Federal Plaza, 37th Floor
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                                                        March 21, 2025

The Honorable Arun Subramanian
United States District Judge
Southern District of New York
500 Pearl Street
New York, NY 10007

        Re:     United States v. Combs, S2 24 Cr. 542 (AS)

Dear Judge Subramanian:

        The Government respectfully submits this letter regarding two issues relating to the Court’s
pretrial schedule that have arisen in the above-referenced matter.

    A. Expert Notice

         The Court ordered the parties to provide expert notice on the following schedule: the
Government was ordered to provide notice on March 7, 2025; the defense was ordered to provide
notice on March 14, 2025, and rebuttal notice was scheduled for March 21, 2025. See Dkt. 125 at
1. The Government provided its expert notice to the defense on March 7, 2025. On March 18,
2025, the parties engaged in a meet and confer, during which the defense informed the Government
that it intends to provide notice by March 21, 2025 of a rebuttal expert.1 The Government therefore
respectfully requests, with the consent of the defense, to have until March 28, 2025 to amend its
expert notice as necessary to respond to the defense’s notice.

        In addition, in a meet and confer on March 20, 2025, the defense also informed the
Government that it intends to ask the Court to extend its deadline to provide notice of a potential
pharmacological expert until March 31, 2025. The Government does not object to this extension
but requests that if granted by the Court, the Government be permitted until April 7, 2025 to
provide notice of a rebuttal expert and, if necessary, to move to preclude the defendant’s proposed
expert testimony after the April 1 deadline for motions in limine. The defense has no objection to
these requests.

    B. Victim Pseudonyms

        The Government has conferred with the defense regarding the use of pseudonyms for some
of the victims the Government intends to call at trial, consistent with the practice in this district in

1 Specifically, the defense informed the Government that it intended to move to preclude the

Government’s sex trafficking expert and that it would call a rebuttal expert if that motion was
denied.
        Case 1:24-cr-00542-AS          Document 189        Filed 03/21/25      Page 2 of 2

                                                                                             Page 2


similar cases. The defense objects to the use of pseudonyms for these particular witnesses. The
Government therefore intends to file a motion in limine on this topic on April 1, 2025, and
respectfully requests that the Court decide that motion as expeditiously as possible once it is fully
briefed. The use of pseudonyms implicates multiple logistical concerns, including, among other
things, the redaction of a substantial volume of exhibits, preparation of witness testimony, and
proposed voir dire. If the Court permits certain victims to testify under a pseudonym, the
Government would also request a conference in advance of the final pretrial conference to discuss
these logistics.


                                              Respectfully submitted,

                                              MATTHEW PODOLSKY
                                              Acting United States Attorney

                                          By:   /s
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